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     A.M., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Children: P.M. and L.M-J. No. 24SC657Supreme Court of Colorado, En BancNovember 18, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA1760
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    